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 1    BOIES SCHILLER FLEXNER LLP                               SUSMAN GODFREY L.L.P.
      David Boies (admitted pro hac vice)                      Bill Carmody (admitted pro hac vice)
 2    333 Main Street                                          Shawn J. Rabin (admitted pro hac vice)
      Armonk, NY 10504                                         Steven M. Shepard (admitted pro hac vice)
 3    Tel: (914) 749-8200                                      Alexander Frawley (admitted pro hac vice)
 4    dboies@bsfllp.com                                        One Manhattan West, 50th Floor
                                                               New York, NY 10001
      Mark C. Mao, CA Bar No. 236165
 5                                                             Tel.: (212) 336-8330
      Beko Reblitz-Richardson, CA Bar No.
                                                               bcarmody@susmangodfrey.com
 6    238027
                                                               srabin@susmangodfrey.com
      44 Montgomery St., 41st Floor
                                                               sshepard@susmangodfrey.com
 7    San Francisco, CA 94104
                                                               afrawley@susmangodfrey.com
      Tel.: (415) 293-6800
 8    mmao@bsfllp.com                                          Amanda K. Bonn, CA Bar No. 270891
      brichardson@bsfllp.com                                   1900 Avenue of the Stars, Suite 1400
 9
                                                               Los Angeles, CA 90067
      James Lee (admitted pro hac vice)
10                                                             Tel.: (310) 789-3100
      Rossana Baeza (admitted pro hac vice)
                                                               abonn@susmangodfrey.com
      100 SE 2nd St., 28th Floor
11
      Miami, FL 33131                                          MORGAN & MORGAN
12    Tel.: (305) 539-8400                                     John A. Yanchunis (admitted pro hac vice)
      jlee@bsfllp.com                                          Ryan J. McGee (admitted pro hac vice)
13    rbaeza@bsfllp.com                                        201 N. Franklin Street, 7th Floor
                                                               Tampa, FL 33602
14    Alison L. Anderson, CA Bar No. 275334
                                                               Tel.: (813) 223-5505
      M. Logan Wright, CA Bar No. 349004
                                                               jyanchunis@forthepeople.com
15    2029 Century Park East, Suite 1520
                                                               rmcgee@forthepeople.com
      Los Angeles, CA 90067
16    Tel.: (213) 629-9040                                     Michael F. Ram, CA Bar No. 104805
17    alanderson@bsfllp.com                                    711 Van Ness Ave, Suite 500
      mwright@bsfllp.com                                       San Francisco, CA 94102
18                                                             Tel: (415) 358-6913
                                                               mram@forthepeople.com
19
                                     UNITED STATES DISTRICT COURT
20                                 NORTHERN DISTRICT OF CALIFORNIA

21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
22   CASTILLO, and MONIQUE TRUJILLO                    DECLARATION OF MARK C. MAO IN
     individually and on behalf of all other similarly SUPPORT OF PLAINTIFFS’ OPPOSITION
23   situated,                                         TO MOTION TO INTERVENE AND TO
24                         Plaintiffs,                 CONTINUE THE FINAL APPROVAL
         v.                                            HEARING (DKT. 1116)
25
     GOOGLE LLC,                                               Judge: Hon. Yvonne Gonzalez Rogers
26                             Defendant.                      Date: August 7, 2024
                                                               Time: 2:30 p.m.
27                                                             Location: Courtroom 1 – 4th Floor

28
     ________________________________________________________________________________________________________________________
     Decl. of Mark C. Mao in Support of                                                      4:20-cv-03664-YGR-SVK
     Plaintiff’s Opposition to Motion to Intervene
         Case 4:20-cv-03664-YGR                Document 1119-1             Filed 07/16/24         Page 2 of 3




 1            I, Mark C. Mao, declare:

 2            1.      I am a partner with the law firm of Boies Schiller Flexner (“BSF”), which together

 3   with Morgan & Morgan and Susman Godfrey (collectively “Plaintiffs’ Counsel”) are counsel for

 4   Plaintiffs in this matter. I am an attorney at law duly licensed to practice before all courts of the State

 5   of California. I have personal knowledge of the matters set forth herein and am competent to testify.

 6            2.      I submit this declaration in support of Plaintiffs’ Opposition to Motion to Intervene

 7   and to Continue the Final Approval Hearing (the “Opposition”), filed in response to Movant’s Notice

 8   of Motion and Motion to Intervene and to Continue the Final Approval Hearing (the “Motion”) (Dkt.

 9   1116).

10            3.      Plaintiffs filed their motion for final approval of the Settlement on April 1, 2024, and

11   Google’s counsel represented that CAFA notices were issued within 10 days after the filing of that

12   motion. Plaintiffs’ Counsel have not received any objections to the Settlement in response to the

13   CAFA notices or from any class members.

14            4.      The Moving Parties expressed no concerns about Plaintiffs’ Counsel’s representation

15   nor did they move to intervene when the Court denied 23(b)(3) certification in December 2022, when

16   the Ninth Circuit rejected the 23(f) petition in March 2023, or once the Court declined to confirm

17   damages claims were tolled in May 2023. The Moving Parties expressed no concerns about Plaintiffs’

18   Counsel’s representation until moving to intervene months after the Settlement approval motion was

19   filed and on the eve of the final approval hearing.

20            5.      The parties involved in this lawsuit have been engaged in hard-fought litigation for

21   over four years, and worked under the supervision of Judge Phillips for more than four months to

22   mediate and negotiate an arms-length compromise that provides substantial injunctive relief to the

23   23(b)(2) class certified by this Court.

24            6.      Attached hereto as Exhibit 1 is a true and correct copy of (1) the Tolling Agreement

25   entered into as of November 13, 2023, between Google and certain clients represented by BSF; (2)

26   an addendum to the Tolling Agreement dated November 26, 2023; and (3) a second addendum to the

27   tolling agreement dated January 23, 2024.

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     ________________________________________________________________________________________________________________________
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 1           7.        The negotiation of the Tolling Agreement was completely separate from the mediation

 2   and negotiation of the Settlement.

 3           8.        Attached hereto as Exhibit 2 is a true and correct copy of a complaint filed by Potter

 4   Handy LLP on April 23, 2024, in California state court on behalf of all of the Moving Parties.

 5           9.        Attached hereto as Exhibit 3 is a true and correct copy of an email thread beginning

 6   on June 10, 2024, where Potter Handy LLP emails BSF requesting a copy of the Tolling Agreement,

 7   and continuing to June 11, 2024, where BSF informed Potter Handy LLP that it had no objection to

 8   Google providing a copy of the Tolling Agreement.

 9           10.       Attached hereto as Exhibit 4 is a true and correct copy of a March 2, 2023, public news

10   article from Reuters titled “Google ‘Incognito’ users lose appeal to sue for damages as class” which

11   details the Court’s decision to not certify a 23(b)(3) class and the Ninth Circuit’s denial of Plaintiffs’

12   23(f) petition.

13           11.       Attached hereto as Exhibit 5 is a true and correct copy of a March 2, 2023, public news

14   article from Tech Times titled “Google Chrome Incognito Privacy Lawsuit: Plaintiffs Lose Appeal to

15   Pursue Money Damages” which details the Court’s decision to not certify a 23(b)(3) class and the

16   Ninth Circuit’s denial of Plaintiffs’ 23(f) petition.

17           12.       Attached hereto as Exhibit 6 is a true and correct copy of a December 14, 2022, public

18   news article from Law Street titled “N.D. Cal. Court Denies Certification of Damages Class in Google

19   Data Collection Class Action,” detailing the Court’s decision to not certify a 23(b)(3) class.

20

21           I declare under penalty of perjury under the laws of California that the foregoing is true and

22   correct. Executed on July 16, 2024, at San Francisco, California.

23
                                                                    /s/ Mark C. Mao
24                                                                  Mark C. Mao
25

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     ________________________________________________________________________________________________________________________
     Decl. of Mark C. Mao in Support of                                                      4:20-cv-03664-YGR-SVK
     Plaintiff’s Opposition to Motion to Intervene
